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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                  :
                                          :
                                          :
       v.                                 :        Case No. JKB-22-439
                                          :
DAVID WARREN                              :
                                          :
       Defendant.                         :


SUPPLEMENTAL MOTION TO SUPPRESS FRUITS OF SEARCHES OF
HISTORICAL CELL SITE LOCATION INFORMATION AND REQUEST
                  FOR FRANKS HEARING

      Defendant David Warren (“Mr. Warren”), by and through his counsel, John

M. McKenna, Michael E. Lawlor, Adam C. Demetriou, and Brennan, McKenna &

Lawlor, Chtd., respectfully submits the following Supplemental Motion to Suppress

Fruits of Searches of Historical Cell Site Location Information and Request for

Franks Hearing.


 I.   Factual and Procedural Background

      On December 15, 2022, the Government filed a one-count Indictment

charging Mr. Warren and five others with racketeering conspiracy, in violation of

18 U.S.C. § 1962(d). (ECF No. 1.) The Indictment alleges the beginning in or about

2014 and continuing until on or about the date of the Indictment, Mr. Warren

conspired with others to conduct and participate in the affairs of the Black Guerilla

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Family (“BGF”). The Indictment alleges 48 overt acts in furtherance of the charged

conspiracy.

      On December 14, 2023, Mr. Warren filed an Omnibus Motion to Suppress

Fruits of Searches Conducted Pursuant to Warrants. (ECF No. 138.) In that Motion,

Mr. Warren challenged several searches conducted by law enforcement. At the time

of the filing of that Motion, Mr. Warren believed that the searches at issue had all

been conducted pursuant to warrants. Among the searches at issue in that Motion is

the search of historical cell site location information (“CSLI”) for phone number

443-452-8277. Mr. Warren noted in the Motion that he was unable to locate in

discovery a search warrant for the historical CSLI. Mr. Warren had reason to believe

such a warrant existed because other warrants produced in discovery explicitly stated

so.

      For example, in the October 22, 2020 warrant1 to search a cell phone seized

from Mr. Warren during the course of a warrantless arrest that occurred on May 2,

2018,2 Sergeant Joseph Landsman swore as follows: “On September 24, 2018, the

Honorable Judge Paul Hanley signed a Search Warrant for historical cell site records




1
  Mr. Warren has moved to suppress the fruits of the search of that cell phone. As
the Court can see, the warrant was issued more than two years after the phone was
unlawfully seized.
2
  Mr. Warren has moved to suppress the fruits of that arrest and search.
                                         2
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on phone number 443-453-8277, a phone number used by David Warren.” (ECF No.

205-7 at 9 (emphasis added).)3 That was not true.

      On May 3, 2024, counsel for the Government wrote to counsel for Mr. Warren

stating that the historical CSLI records were produced in response to a Maryland

state court Order issued during the investigation into the murder of John Eversley,

an incident that is not alleged in the Indictment but with respect to which materials

were provided in discovery.4 The Government noted that it intended to address the

legality of the Order in its Response to Mr. Warren’s pretrial motions. On May 10,

2024, the Government filed its Consolidated Response in Opposition to Defendants’

Pretrial Motions. (ECF No. 205.) In its Response, the Government argues the

impossible: that a Stored Communications Act Order to obtain historical CSLI

issued in direct contravention of United States Supreme Court precedent and under

a far lower standard than the probable cause requirement of the Fourth Amendment

should nonetheless be upheld. This Court should reject the Government’s argument.




3
  The October 22, 2020 search warrant also references a “court order” for historical
CSLI for phone number 443-314-6088. Mr. Warren has not been able to locate a
copy of that order. The Government has indicated that it has not located a copy of
this order. The Government has represented to the undersigned counsel that it does
not intend to introduce at trial any historical CSLI produced pursuant to the
purported order.
4
  Government counsel attached the previously provided application and order to this
email. Mr. Warren does not allege that the Government failed to produce these
materials.
                                        3
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As a result of the violation of Mr. Warren’s Fourth Amendment rights, the fruits of

that search must be suppressed.


II.   Legal Standard
      The Fourth Amendment protects “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.”

U.S. Const. amend. IV. Warrantless searches are presumptively unreasonable

“except in certain carefully defined classes of cases.” Cady v. Dombrowski, 413 U.S.

433, 439 (1973) (internal quotation marks omitted). The Fourth Amendment further

commands that “no Warrants shall issue, but upon probable cause, supported by

Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.” Id. Probable cause for a search exists when, “given

all the circumstances set forth in the affidavit . . ., there is a fair probability that

contraband or evidence of a crime will be found in a particular place.” Illinois v.

Gates, 462 U.S. 213, 238-39 (1983).

      On June 22, 2018 the United States Supreme Court decided Carpenter v.

United States, 585 U.S. 296 (2018). In Carpenter, the Supreme Court unequivocally

held that “an order issued under Section 2703(d) of the [Stored Communications]

Act is not a permissible mechanism for accessing historical cell-site records. Before

compelling a wireless carrier to turn over a subscriber’s CSLI, the Government's

obligation is a familiar one—get a warrant.” 585 U.S. at 317. Under 18 U.S.C. §

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2703(d), to obtain a Stored Communications Act order for historical CSLI, the

Government was required “to show ‘reasonable grounds’ for believing that the

records were ‘relevant and material to an ongoing investigation.’” Id. (citing 18

U.S.C. § 2703(d). As the Supreme Court held, “[t]hat showing falls well short of the

probable cause required for a warrant.” Id. Indeed, the Supreme Court described the

SCA standard as a “gigantic departure from the probable cause rule.” Id. (emphasis

added.)

      Just days after the Supreme Court decided Carpenter, the Fourth Circuit

recognized the import of the holding, which overturned previously binding Circuit

authority: “In United States v. Graham, we held that ‘the government does not

violate the Fourth Amendment when it obtains historical [cell site location

information] from a service provider without a warrant.’ 824 F.3d 421, 425 (4th Cir.

2016) (en banc). In Carpenter v. United States, however, the Supreme Court made

clear that the government’s acquisition of Carpenter’s cell site records ‘was a search

within the meaning of the Fourth Amendment.’”5 United States v. Chavez, 894 F.3d



5
   Commentators too immediately recognized the importance of the holding in
Carpenter. See, e.g., Amy Howe, Opinion Analysis: Court holds that police will
generally need a warrant for sustained cellphone location information (Updated),
SCOTUSblog, available at https://www.scotusblog.com/2018/06/opinion-analysis-
court-holds-that-police-will-generally-need-a-warrant-for-cellphone-location-
information/ (June 22, 2018); Mark Sherman, Justices adopt digital-age privacy rules
to       track     cellphones,       Associated      Press,       available       at
https://apnews.com/article/3b59408315b14893b0b26bb505ce933d (June 23, 2018).
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593, 608 (4th Cir. 2018) (decided July 2, 2018). The Fourth Circuit also held that

“Carpenter is obviously controlling going forward.” Id.


III.   The September 24, 2018 Stored Communications Act Order for Mr.
       Warren’s Historical Cell Cite Location Information

       On July 25, 2018, more than one month after the Supreme Court decided

Carpenter, members of the Baltimore County Police Department responded to the

intersection of South Beechfield Avenue and Wilkens Avenue after receiving reports

of a shooting. At the scene, officers found John Eversley suffering from gunshot

wounds. Mr. Eversley was pronounced deceased. Officers eventually focused upon

Mr. Warren as a suspect in the murder investigation.6

       On September 24, 2018, now more than three months after Carpenter,

Detective Scott Young of the Baltimore County Police Department applied to Judge

Paul Hanley of the Circuit Court for Baltimore Court for a Stored Communications

Act order under 18 U.S.C. § 2703(d)7 for the historical call detail records and

historical CSLI of the phone number 443-453-8277 from March 1, 2018 through

August 16, 2018. (ECF No. 205-6.) The Application purports to contain “specific

and articulable facts showing probable cause to believe the records and information

sought are relevant and material to an ongoing criminal investigation.” (See Ex. A;


6
 Mr. Warren has never been charged with this murder.
7
 The sole authority cited in the Application and Order is 18 U.S.C. § 2703(d). No
other statutory or constitutional provision is to be found.
                                           6
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see also ECF No. 205-6 at 4 (emphasis added).) That same day, Judge Paul J.

Hanley, an Associate Judge of the Circuit Court for Baltimore County since March

23, 2014, issued the § 2703(d) Order for Mr. Warren’s historical CSLI. In the Order,

Judge Hanley found that “there is probable cause to believe the records and

information sought are relevant and material to an ongoing criminal investigation

of a crime of Murder[.]” (Id. at 7 (emphasis added).) On September 25, 2018, T-

Mobile provided Detective Young with the requested information. Various state and

federal law enforcement agencies maintained the information and have continued to

use it in a number of investigations to the present day, including in the investigation

at issue in this case.


IV.    Mr. Warren Moves to Suppress the Fruits of All Searches of Historical
       CSLI for Phones Associated with Him

       As an initial matter, it appears that members of law enforcement applied for

and received a number of Stored Communications Act orders for historical CSLI in

this case. Mr. Warren moves to suppress the fruits of all searches of historical CSLI

for phones allegedly associated with him whether conducted pursuant to pre-

Carpenter SCA orders, post-Carpenter SCA orders, search warrants, or any other

mechanism.




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V.    The September 24, 2018 SCA Order was Issued in Violation of the
      Fourth Amendment
      Under Carpenter, law enforcement must “must secure a warrant to obtain

historical CSLI.” United States v. Taylor, 54 F.4th 795, 801 (4th Cir. 2022); see also

Carpenter, 585 U.S. at 316 (“we also conclude that the Government must generally

obtain a warrant supported by probable cause before acquiring [historical CSLI]

records”). The showing required under 18 U.S.C. § 2703(d) of “reasonable grounds

for believing that the records were relevant and material to an ongoing investigation”

“falls well short of the probable cause required for a warrant.” Carpenter, 585 U.S.

at 317 (emphasis added). The Supreme Court definitively held that “an order issued

under Section 2703(d) of the [Stored Communications Act] is not a permissible

mechanism for accessing historical cell-site records.” Id.

       As noted above, the September 24, 2018 SCA Order for Mr. Warren’s

historical CSLI cited only 18 U.S.C. § 2703(d) as the legal authority for its issuance.

The Application purported to demonstrate probable cause “to believe the records and

information sought are relevant and material to an ongoing investigation.” (ECF No.

205-6 at 4.) And that is precisely the finding Judge Hanley made in the Order. (ECF

No. 205-6 at 7.) In contravention of United States Supreme Court precedent, law

enforcement obtained Mr. Warren’s historical CSLI in the absence of a warrant

issued upon the finding of probable cause required under the Fourth Amendment.

This Court must therefore suppress the fruits of this warrantless search.
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VI.   The September 24, 2018 SCA Order Is Not the Functional Equivalent of
      a Warrant
      Contrary to the Government’s argument, the SCA Order is not “the functional

equivalent of a warrant.” (ECF No. 205 at 40.) The Supreme Court has articulated

three requirements for a warrant to issue under the Fourth Amendment:

      First, warrants must be issued by neutral, disinterested magistrates.
      Second, those seeking the warrant must demonstrate to the magistrate
      their probable cause to believe that the evidence sought will aid in a
      particular apprehension or conviction for a particular offense. Finally,
      warrants must particularly describe the things to be seized, as well as
      the place to be searched.
Dalia v. United States, 441 U.S. 238, 255 (1979) (internal citations omitted)

(emphasis added). The SCA Order fails the test in several respects.

      First, the Order was not issued upon the requisite finding of probable cause

sufficient for Fourth Amendment purposes. The Supreme Court in Carpenter made

clear that the relevancy showing under the SCA falls far short of the probable cause

requirement of the Fourth Amendment. This matter is simply not up for debate. The

September 24, 2018 SCA Order reflects a finding of probable cause “to believe the

records and information sought are relevant and material to an ongoing criminal

investigation[.]” (ECF No. 205-6 at 7.) The issuing Court made no finding of

probable cause “to believe that the evidence sought will aid in a particular

apprehension or conviction for a particular offense.” Dalia, 441 U.S. at 255




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(emphasis added). The Order therefore does not satisfy the Fourth Amendment

warrant requirement.

      In Zadeh v. State, 258 Md. App. 547 (2023), the Appellate Court of Maryland

reviewed the legality of an August 7, 2014 Order issued pursuant to Maryland Courts

and Judicial Proceedings Article (“CJP”) § 10-4A-04, a state analogue of the federal

Stored Communications Act. The Zadeh Court, relying upon Carpenter, found that

the CJP § 10-4A-04 Order did not meet the warrant requirement of the Fourth

Amendment:

      The August 7 Order was issued under CJP § 10-4A-04, which requires
      only that there be “reason to believe the contents of a wire or electronic
      communication, or the records or other information sought are relevant
      to a legitimate law enforcement inquiry.” CJP § 10-4A-04(d)(1). As the
      Supreme Court explained in Carpenter—in interpreting a parallel
      provision in the federal Stored Communications Act requiring only a
      showing of relevance—that “showing falls well short of the probable
      cause required for a warrant.” Carpenter, 138 S. Ct. at 2221. In the
      application for the August 7 Order, Det. Wolff explicitly referred to that
      lesser standard, certifying that “the location information likely to be
      obtained is relevant to the aforesaid ongoing criminal investigation[.]”




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Zadeh, 258 Md. App. at 590 (emphasis added).8 The Zadeh Court therefore held that

the August 2014 Order, which was entitled “Probable Cause Order,” did not satisfy

the requirements of a warrant under the Fourth Amendment.9

      Second, the September 24, 2018 Order was not issued by a neutral, detached

judicial offer. Instead, Judge Hanley either wholly abandoned his judicial role and

acted without regard for the precedent of the United States Supreme Court, or he

served as a rubber stamp for law enforcement, issuing the Order after only a cursory

reading. The Supreme Court decided Carpenter three months before Detective

Young submitted the subject Application. It bears repeating that in Carpenter the

Supreme Court held that “an order issued under Section 2703(d) of the [Stored


8
  In a footnote (ECF No. 205 at 42 n.7), the Government appears to argue that the
September 24, 2018 SCA Order was actually issued pursuant to Md. Code Ann.,
Crim. Proc. § 1-203.1, a statute that, unlike the SCA, requires a showing of probable
cause sufficient to meet the requirements of the Fourth Amendment. See §
1.203.1(b)(1). But, as noted above, the Order was sought and issued pursuant to §
2703(d), which requires only a showing of relevancy. In the course of the
investigation into the Eversley murder, Baltimore County investigators did seek and
obtain § 1-203.1 orders for other searches. They did not do so with respect to the
search of historical CSLI for the 8277 number. The Zadeh Court rejected a similarly
specious argument advanced by the State. 258 Md. App. at 591 (“We are not
persuaded by the State’s argument, relying on Whittington, that Zadeh's challenge to
the August 7 Order addresses form over substance because the order met the
constitutional requirements for a warrant pursuant to the safeguards established
under CP § 1-203.1 . . . First, as we have already established, the August 7 Order
was sought and issued under the Stored Communications Act—specifically CJP §
10-4A-04.”) (emphasis added).
9
  The Zadeh Court affirmed the denial of the motion to suppress because the relevant
order was issued before the Supreme Court decided Carpenter. In Mr. Warren’s
case, the September 24, 2018 Order was issued after Carpenter.
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Communications] Act is not a permissible mechanism for accessing historical cell-

site records. Before compelling a wireless carrier to turn over a subscriber’s CSLI,

the Government's obligation is a familiar one—get a warrant.” 585 U.S. at 317

(emphasis added). The Application and Order explicitly invoke § 2703(d). The

Application and Order reference only the relevancy standard found constitutionally

insufficient by the Supreme Court. A neutral and detached judicial officer acts in

accordance with the “supreme laws of the land.” Testa v. Katt, 330 U.S. 386, 391

(1947). In issuing this Order, Judge Hanley unfortunately did not.

      Third, even if somehow an SCA order for historical CSLI issued in violation

of Carpenter could be considered the functional equivalent of a warrant, the SCA

Application and Order are nonetheless deficient. First, the Application relies upon

the August 16, 2018 unlawful warrantless arrest and search of Mr. Warren.10 Without

the unconstitutionally obtained evidence, there would be no arguable basis to support

any finding of probable cause. Cf. United States v. Karo, 468 U.S. 705, 719 (1984).

Indeed, apart from evidence obtained and a result of that unlawful search and seizure,

there is absolutely no other information in the Application that would even suggest

a connection between Mr. Warren and Mr. Eversley. For that reason alone, even if


10
   This event is the subject of a pending motion to suppress. On that date, members
of the ATF unlawfully arrested Mr. Warren. Members of the Baltimore Police
Department subsequently searched a vehicle in which Mr. Warren had been seated
at the time of his arrest and recovered a firearm allegedly used in the murder of Mr.
Eversley. Testing revealed that Mr. Warren’s DNA was not present on the firearm.
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the Order could be considered the functional equivalent of a warrant, it is invalid and

the fruits of any search conducted pursuant to it must be suppressed. See, e.g., United

States v. Gray, 302 F. Supp. 2d 646 (S.D.W. Va. 2004).

      Moreover, the Application fails to establish a sufficient nexus between the

July 25, 2018 murder of Mr. Eversley and historical CSLI for the 8277 phone

number. “Probable cause to believe that a person is engaged in criminal activity is

not carte blanche to search all their personal effects. There must also be some nexus

between the suspected crime and the place to be searched—a substantial likelihood

that evidence of a crime will be found in a particular place.” United States v.

Orozco, 41 F.4th 403, 409 (4th Cir. 2022) (emphasis in original) (internal citation

omitted). The Application provides no nexus between the 8277 phone and the

murder of Mr. Eversley. For example, there is no information in the Application to

establish that Mr. Warren was in communication with Mr. Eversley, or anyone

associated, with him in the months leading up to and following the murder, let alone

information that such communications occurred using the 8277 number. There is no

information at all suggesting any relationship or contact between Mr. Warren and

Mr. Eversley before the date of the murder on July 25, 2018. Likewise, there is no

information that Mr. Warren was even using the 8277 phone number at the time of




                                          13
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 the murder of Mr. Eversley.11 For these reasons, too, even if the SCA Order could

 be considered the equivalent of a warrant, it is invalid on its face.


VII.   The Good Faith Exception Does Not Save the Unlawful SCA Order
       The Government argues that notwithstanding the plain constitutional

 deficiency of the SCA Order, this Court should nonetheless uphold the search under

 the good faith doctrine. As an initial matter, the SCA Order is, by definition, not a

 warrant subject to the good faith doctrine of United States v. Leon, 468 U.S. 897

 (1984). And in light of the Supreme Court’s clear holding in Carpenter, the SCA

 Order for historical CSLI, issued on a standard of mere relevancy, is not the

 functional equivalent of a warrant. But even if the good faith exception could apply

 under these circumstances, it has no application here.

        The purpose of the exclusionary rule “is to deter—to compel respect for the

 constitutional guaranty in the only effectively available way—by removing the

 incentive to disregard it.” Elkins v. United States, 364 U.S. 206, 217 (1960). To be

 sure, “when investigators act with an objectively reasonable good-faith belief that

 their conduct is lawful, the exclusionary rule will not apply.” Chavez, 894 F.3d at

 608 (citations omitted). “Objectively reasonable good faith includes searches




 11
   As argued later, law enforcement omitted information showing that Mr. Warren
 had not been using the 8277 phone number for several months prior to the Eversley
 murder.
                                       14
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conducted in reasonable reliance on subsequently invalidated statutes.” Id.

(emphasis added). Searches conducted in contravention of the clearly established

constitutional precedents of the United States Supreme Court are not subject to this

exception. Unlike the SCA orders at issue in Chavez, the September 24, 2018 SCA

Order was applied for and issued after the Supreme Court decided Carpenter. It is

unreasonable for police officers and judges to disregard the Supreme Court’s

interpretation of the Constitution, the very document they swear to uphold. The

Government has not identified a single case upholding a search of historical CSLI

conducted pursuant to a post-Carpenter SCA order.

      Accepting the Government’s argument would lead to dangerous results. The

Government would have this Court endorse a theory that as to each constitutional

decision rendered by the Supreme Court, state actors enjoy a free pass period of at

least three months within which to disregard precedent. The Government’s

argument, if accepted, would upset the constitutional order. It would invite

lawlessness. When the Supreme Court speaks on a constitutional matter, government

actors must heed its mandate. An order issued in violation of Supreme Court

precedent cannot stand.12



12
  Moreover, as explained below, to the extent the Court concludes that the SCA
Order satisfies the warrant requirement of the Fourth Amendment, the good faith
exception does not apply because Det. Young intentionally or recklessly omitted
material information from the application.
                                        15
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VIII.   In the Alternative, Mr. Warren Requests a Hearing Pursuant to Franks
        v. Delaware, 438 U.S. 154 (1978)
        Should this Court conclude that the SCA Order satisfies the requirements for

  a valid warrant under the Fourth Amendment, Mr. Warren requests a hearing under

  Franks v. Delaware, 438 U.S. 154 (1978). In Franks, the Supreme Court “held that

  in certain narrowly defined circumstances a defendant can attack a facially sufficient

  affidavit.” United States v. Colkley, 899 F.2d 297, 300 (4th Cir. 1990).” “Along with

  affirmative false statements, Franks protects against omissions that are designed to

  mislead, or that are made in reckless disregard of whether they would mislead, the

  magistrate.” United States v. Haas, 986 F.3d 467, 474 (4th Cir. 2021).

         To obtain a Franks hearing on the basis of a material omission in a search

  warrant application, Mr. Warren must make a substantial preliminary showing that:

  “(1) law enforcement made an omission; (2) law enforcement made the omission

  knowingly and intentionally, or with reckless disregard for the truth, and (3) the

  inclusion of the omitted evidence in the affidavit would have defeated its probable

  cause.” Id. (citation omitted). If the Court finds that Mr. Warren has made such a

  showing, the Court “must hold a Franks hearing to develop evidence on the

  affidavit's veracity. If after the hearing the defendant establishes perjury or reckless

  disregard by a preponderance of the evidence and shows that the inclusion of the

  omitted evidence would defeat the probable cause in the affidavit, the search warrant

  must be voided and the fruits of the search excluded.” Id.
                                            16
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         In the Application for the SCA Order, Detective Young omitted critical

information that would have made clear that the records sought would not aid in a

particular apprehension or conviction for the July 25, 2018 murder of John Eversley.

Specifically, Detective Young did not inform the reviewing judge that law

enforcement had evidence that Mr. Warren had ceased using the subject telephone

number months before Eversley murder or that the subject telephone had been in the

possession of the Baltimore Police Department since Mr. Warren’s warrantless

arrest on May 2, 2018.13

         A.    Factual Background

         On May 2, 2018 at about 2:12 p.m., Mr. Warren was subjected to a warrantless

search and seizure on the 1200 block of E. Lafayette Avenue in Baltimore City. On

that day, Officer Timothy Romeo, Sergeant Anthony Maggio, Officer Mark

Pashkevich, and Officer Horne were all riding in one unmarked police car

conducting what they characterized as routine patrols. The officers saw Mr. Warren

driving a 2009 dark blue Honda Accord with registration number 6DF7581 and

stopped Mr. Warren’s vehicle. The officers then ordered Mr. Warren out of his car,

handcuffed him, and searched the vehicle. On Mr. Warren’s person, officers located

an iPhone. The officers seized the iPhone, which Officer Pashkevich ultimately




13
     Mr. Warren has moved to suppress the fruits of this search and seizure.
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submitted to the Baltimore Police Department’s Evidence Control Unit, where it

remained for several years.14

      On June 27, 2018, Jonus Ben was shot in the 8500 block of Glen Michael

Lane in Randallstown, Baltimore County, Maryland. Baltimore County Police

Department Detective O’Shea assumed responsibility as the lead investigator into

the shooting and responded to the scene. On June 29, 2018, Det. O’Shea retrieved

video surveillance from a nearby Verizon location. In the footage, Det. O’Shea

observed a dark blue Honda Accord driving quickly near the scene around the time

of the shooting. According to police reports, that same day, Det. O’Shea obtained

surveillance footage from the Northwest Crossing Apartment Homes. Det. O’Shea

reviewed the footage and claims to have observed a dark blue Honda Accord with

registration number 6DF7581 leaving the area of Glen Michael Lane around the time

of the shooting. Det. O’Shea ran the registration through the MVA database and

learned that the 2009 Honda Accord was registered to Shaquan Bell. On June 28,

2018, Det. O’Shea applied for and received an order to place a GPS tracking device




14
  Officers first transported Mr. Warren to the BPD Eastern District station. Officer
Pashkevich then transported Mr. Warren to the BPD homicide unit, where former
BPD Detective James Lloyd interrogated Mr. Warren about the March 16, 2018
murder of Charles Tate. Mr. Warren was ultimately charged with driving on a
suspended license and unlawful possession of ammunition. Both charges were
dismissed.
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on the Honda Accord. See Ex. B. The device was installed on June 29, 2018. See Ex.

C.

        Meanwhile, on June 27, 2018, BCPD retrieved a LINX report related to the

May 2, 2018 arrest of David Warren. See Ex. D. The report contains a reproduction

of Officer Romeo’s report of the May 2 arrest. The report notes that Mr. Warren was

stopped while driving a blue Honda Accord with registration number 6DF7581.

Officer Romeo’s report states that officers seized an iPhone from Mr. Warren on the

date of the arrest. The report also states that “[a]ll evidence was submitted to ECU

by Officer Pashkevich under property numbers 18014651, 18014652, and

18014653.” Handwritten comments of Baltimore County Police Department

investigators appear on the scanned LINX report. One comment reads “ARREST

5/2/18.” The other reads: “Eastern District Action Team Sgt Maggio 443-250-8211.”

Sergeant Maggio was one of the four officers who arrested Mr. Warren on May 2,

2018.

        On July 17, 2018, Det. O’Shea applied for and received a warrant to search

the following: the 2009 Honda Accord with registration 6DF7581l; the person of

Shaquan Bell; and the person of David Warren. See Ex. E. On July 20, 2018, Det.

O’Shea applied for and received a search warrant for records, including historical

CSLI and call detail information related to phone number 443-515-7476, a number

associated with Shaquan Bell, Mr. Warren’s significant other. See Ex. F. In the

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affidavit in support of the search warrant, Det. O’Shea swore that Mr. Warren had

been arrested by BPD on May 2, 2018 while driving the relevant Honda Accord.

Det. O’Shea also stated that he has listened to a May 3, 2018 jail call from Mr.

Warren to 443-515-7476 in which Mr. Warren and Ms. Bell discussed their

relationship and expressed their love for one another. On July 23, 2018, BCPD

officers arrested Mr. Warren and interrogated him.15 That same day, BCPD searched

the Honda Accord and the Elkridge home Shaquan Bell and Mr. Warren shared. At

the home officers seized Ms. Bell’s iPhone. Officers downloaded the contents of Ms.

Bell’s phone later that afternoon.

      On July 25, 2018, John Eversley was murdered in Baltimore County,

Maryland. BCPD Detective Scott Young assumed responsibility as the lead

investigator in the case. Officers located ballistics evidence at the scene but did not

find any eyewitnesses. On August 16, 2018, Mr. Warren was the subject of a

warrantless arrest and search by members of the ATF and the Baltimore Police

Department.16 On that day, ATF Agents Lisa Christy, Colleen Daly, and Shannon

Day-Hill were conducting an operation using ATF Task Force Officer Christopher




15
   Mr. Warren has moved to suppress both the fruits of this arrest and his subsequent
statements to law enforcement. After the interrogation, Mr. Warren was charged
with motor vehicle offenses. He was released on his own recognizance. The charges
were ultimately dismissed.
16
   This event is the subject of a pending motion to suppress.
                                          20
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Faller in an undercover capacity.17 At gunpoint, Agents Daly and Christy ordered

Mr. Warren out of a Toyota Avalon in which he was seated and arrested him. BPD

officers Pashkevich and Horne, who had previously arrested Mr. Warren in May,

arrived on scene. Seargeant Maggio arrived shortly thereafter. The officers and

agents searched Mr. Warren and the vehicle and recovered cell phones and a firearm.

Mr. Warren has been continuously incarcerated since that day. NIBN reports

indicated a connection between the firearm seized on August 16 and the Jonus Ben

and John Eversley shooting incidents.

         On August 21, 2018, Detective Young, who was still investigating the murder

of Mr. Eversley, met with members of BPD to discuss the purported matches

between the firearm recovered on August 16 and shooting incidents in Baltimore

County. See Ex. G. Det. Young and Det. O’Shea coordinated with one another and

with Baltimore City and federal law enforcement in the investigations into the Jonus

Ben and John Eversley shootings. On August 30, 2018, Det. O’Shea swore out a

Statement of Charges charging Mr. Warren with the attempted murder of Jonus Ben.

See Ex. H. On September 6, 2018, Mr. Warren was transferred from Baltimore City

to the custody of Baltimore County. Mr. Warren was not charged with the murder

of John Eversley.




17
     The operation was not related to David Warren.
                                          21
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      On September 24, 2018, Det. Young applied for and received an SCA order

in connection with the Eversley investigation for historical CSLI and other records

related to phone number 443-453-8277, a phone number Mr. Warren used before his

May 2 arrest. See Ex. A. The application contains representations about both the

investigations into the attempted murder of Jonus Ben and the murder of John

Eversley. Det. Young swore that Det. O’Shea had executed a search warrant on Ms.

Bell’s and Mr. Warren’s home on July 23, 2018 and that Ms. Bell’s phone had been

downloaded. Det. Young swore that “[d]uring a review of the cellular phone

download, telephone number 443-453-8277 had numerous communications with

Shaquan Bell. Shaquan Bell had telephone number 443-453-8277 identified inside

her phone has ‘Hon3y Bunch.’ It appears through text message (SMS)

communications there were several arguments and both parties were involved in a

relationship, with one outgoing message in the name, ‘David.’” Det. Young

continued, “[t]hrough a review of Shaquan Bell’s cellular phone, it appeared David

Warren utilized numerous cellular phones to include 443-453-8277.” Ex. A.

      The application contains no representation about the timing of the

communications between Ms. Bell and Mr. Warren’s 8277 number. The application

contains no representation about any relationship or contact between Mr. Warren

and Mr. Eversley before the date of the murder. The SCA Order ultimately directed




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the disclosure of historical CSLI for the 8277 number from March 1 through August

1, 2018.

      B.    Omissions
      Detective Young did not inform the reviewing judge that the evidence in law

enforcement’s possession showed that Mr. Warren had ceased using the 8277 phone

number two months and twenty-three days before the murder of Mr. Eversley. As

noted above, BCPD downloaded Ms. Bell’s phone on July 23, 2018. In the

application for historical CSLI for the 8277 phone number, Det. Young details

certain information learned from the review of the download of Ms. Bell’s phone.

Det. Young did not inform the reviewing judge that the last message from the 8277

phone number to Ms. Bell was sent on May 1, 2018 at 11:41 p.m. Ms. Bell read the

message on May 2, 2018 at 2:33:39 p.m., at which time Mr. Warren was already in

the custody of members of the Baltimore Police Department. Ms. Bell sent to the

8277 number a message that read “David” on May 2, 2018 at 2:33:47 p.m. That is

the last communication contained in the download between Ms. Bell’s phone and

Mr. Warren’s 8277 number. Ms. Bell’s message was never read.




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      C.    Intentionality

      At a minimum, Detective Young recklessly omitted the fact that law

enforcement had evidence that Mr. Warren was not using the 8277 number after May

2, 2018 – months before the Eversley murder. The SCA application was not

submitted in haste. It was the result of a months long investigation. Indeed, at the

time the application was submitted, Mr. Warren had been in custody for more than

one month. Mr. Warren had been ordered held without bond in Baltimore County in

relation to the attempted murder of Jonus Ben. In short, Mr. Warren wasn’t going

anywhere.

      In contrast to the SCA application for records related to the 8277 number, in

a contemporaneously signed SCA application for records related to a different

number associated with Mr. Warren, Det. Young included information regarding the

timing of Mr. Warren’s communications as reflected in the download of Ms. Bell’s

phone. See Ex. I.18 That application states as follows: “On 7/18/2018, an incoming

SMS message is sent from 443-449-3705 to Shaquan Bell that says, ‘I love you

Quan.’ There is also an incoming Instant Message the same day that says

‘Meshawn.’ After reviewing Shaquan Bell’s cellular phone, it is apparent that David

Warren commonly refers to her as ‘Quan’ in SMS messages.” Id. Clearly, Det.



18
 Det. Young signed this application approximately 30 seconds before he signed the
SCA application for records related to the 8277 phone number.
                                         25
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Young recognized the significance of the timing of communications showing Mr.

Warren’s use of a target phone number in relation to the investigation of the Eversley

murder. Yet in the subject SCA Order, Det. Young failed to include information that

the last communications between Ms. Bell and Mr. Warren’s 8277 number occurred

more than two months before the crime under investigation.

      In the SCA application for records related to the 8277 number, Det. Young

explicitly references, with no mention of timing, what turned out to be the last text

message between Ms. Bell and the subject telephone number, a message sent on May

2, 2018 at 2:33 p.m. that read “David.” This message was never marked as read. Det.

Young failed to inform the reviewing judge that this was the last communication in

the download between Ms. Bell’s phone and the 8277 phone. As noted above, Det.

Young and Det. O’Shea collaborated with respect to their investigations of Mr.

Warren. By at least June 27, 2018, Det. O’Shea had obtained BPD Officer Romeo’s

report of the May 2, 2018 arrest of Mr. Warren. On August 21, 2018, nearly a month

after the download of Ms. Bell’s phone, Det. Young himself met with members of

BPD and ATF to discuss investigations concerning Mr. Warren. As a detective with

years of experience, Det. Young should have realized that there was a good reason

for the absence of communications after May 2 between Ms. Bell’s phone and the

8277 number: the phone had been seized on that date and was no longer in use.




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      The omission of this information was not mere negligence or an innocent

mistake. Det. Young chose to include information about the timing of

communications with respect to a phone Mr. Warren was using in July 2018, close

in time to the murder of Mr. Eversley. He did not include such information in the

application as to the 8277 phone number. These two applications were signed 30

seconds apart. At a minimum, the information was recklessly omitted.

      D.    Materiality

      The omitted information was material to a finding of probable cause with

respect to the SCA Order for the 8277 number.19 The subject application sought

records relevant to the investigation of the murder of John Eversley. That murder

occurred on July 25, 2018. The application contains no information reflecting any

prior relationship or interactions between Mr. Eversley and Mr. Warren. Det. Young

omitted information that Mr. Warren had not been not using the 8277 number as of

May 2, 2018. Had Det. Young stated in the application that the last communications

between Ms. Bell and Mr. Warren’s 8277 number took place on May 2, 2018,

months before the murder under investigation, and that there was evidence that in

the days before the murder Mr. Warren was using a different phone to communicate

with Ms. Bell, the reviewing judge would have concluded that the subject application



19
  As argued above, the Order was not issued under the probable cause standard
required by the Fourth Amendment.
                                    27
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failed to establish probable cause that evidence leading to an arrest or apprehension

for the murder of Mr. Eversley would be found in the records for the 8277 number.

      In light of these circumstances, Mr. Warren submits that he has more than met

his burden to obtain a Franks hearing.

                                  CONCLUSION

      This case does not present a close call. The Supreme Court’s holding in

Carpenter is clear. What the Government calls a formalistic requirement, the

Supreme Court has stated is a constitutional rule – a rule the Fourth Circuit has held

to be “obviously controlling going forward.” Chavez, 894 F.3d at 608. The fruits of

a search conducted in direct violation of that holding are not admissible evidence in

a criminal trial. This Court should suppress the fruits of the September 24, 2018

Stored Communications Act Order and all evidence derived therefrom. However, if

this Court determines that the SCA Order constitutes the functional equivalent of a

warrant, the Court should hold a Franks hearing in light of the omission of

information material to any determination of probable cause.




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                                          Respectfully submitted,

                                          ___________/s/_______________
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 12th day of June, 2024, the foregoing was

served on all parties via ECF.



                                                      _____/s/________
                                                      John M. McKenna




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